
OPINION OF THE COURT
Memorandum.
On review of submissions pursuant to section 500.11 of the Rules of the Court of Appeals (22 NYCRR 500.11), order reversed, with costs, and case remitted to the Appellate Division, First Department, for consideration of issues raised but not determined on the appeal to that Court. Legally sufficient evidence supported the jury’s finding that defendant New York City Transit Authority was negligent and that its negligence was a proximate cause of plaintiff’s injury.
Concur: Chief Judge DiFiore and Judges Rivera, Abdus-Salaam, Stein, Fahey and Wilson concur. Judge Garcia dissents and votes to affirm, in an opinion.
